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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS

FLORIDA GAS TRANSMISSION                 §
COMPANY, LLC,                            §
                                         §
      Plaintiff,                         §   Case Number: 3:22-cv-236
                                         §
                   vs.                   §   Judge:
                                         §
1.77 ACRES OF LAND, MORE OR              §
LESS, PERMANENT EASEMENT                 §
(PIPELINE RIGHT-OF-WAY), 9.55            §
ACRES OF LAND, MORE OR LESS,             §
TEMPORARY WORK SPACE, 0.05
                                         §
ACRES OF LAND, MORE OR LESS,
TEMPORARY         ACCESS        ROAD     §
EASEMENT AND 0.35 ACRES OF               §
LAND,       MORE       OR       LESS,    §
PERMANENT         ACCESS        ROAD     §
EASEMENT         IN      BRAZORIA        §
COUNTY, TEXAS, TRACT NO.                 §
BL12-TX-BR-001.000, Texas Reunion,       §
LLLP, Boa Sorte Limited Partnership,     §
Leo and Annette Beus, SPG-Wheatley,      §
LLLP,      SPG-Swaback,         LLLP,
                                         §
Charlesview,    LLC,      Cloverland
Investors,   LLLP,    Winnipesaukee      §
Partners,     LLLP,       Amsterdam      §
Investments, LLLP, CSP-KDL, LLLP,        §
Arizona Lemonade Springs, LLLP,          §
KLW Investments, LLLP, Aeditus,          §
LLC, Leo R. Beus 401(k) Profit Sharing   §
Plan, C3B, LLLP;                         §
                                         §
AND                                      §
                                         §
0.15 ACRES OF LAND, MORE OR
                                         §
LESS, PERMANENT EASEMENT
(PIPELINE RIGHT-OF-WAY), 0.26            §
ACRES OF LAND, MORE OR LESS,             §
PERMANENT     SURFACE     SITE           §
EASEMENT, 0.93 ACRES OF LAND,            §
MORE OR LESS, TEMPORARY                  §
WORK SPACE, 0.004 ACRES OF               §
LAND,    MORE     OR     LESS,           §
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PERMANENT         ACCESS        ROAD     §
EASEMENT, AND 0.13 ACRES OF              §
LAND,       MORE        OR       LESS    §
PERMANENT         ACCESS        ROAD     §
EASEMENT         IN      BRAZORIA
                                         §
COUNTY, TEXAS, TRACT NO.
BL12-TX-BR-001.002, Texas Reunion,       §
LLLP, Boa Sorte Limited Partnership,     §
Leo and Annette Beus, SPG-Wheatley,      §
LLLP,      SPG-Swaback,         LLLP,    §
Charlesview,    LLC,      Cloverland     §
Investors,   LLLP,    Winnipesaukee      §
Partners,     LLLP,       Amsterdam      §
Investments, LLLP, CSP-KDL, LLLP,        §
Arizona Lemonade Springs, LLLP,          §
KLW Investments, LLLP, Aeditus,
                                         §
LLC, Leo R. Beus 401(k) Profit Sharing
Plan, C3B, LLLP;                         §
                                         §
AND                                      §
                                         §
0.61 ACRES OF LAND, MORE OR              §
LESS, PERMANENT EASEMENT                 §
(PIPELINE RIGHT-OF-WAY), 1.29            §
ACRES OF LAND, MORE OR LESS,             §
TEMPORARY         WORK         SPACE     §
EASEMENT, AND 0.29 ACRES OF              §
LAND,       MORE       OR       LESS,
                                         §
TEMPORARY         ACCESS        ROAD
EASEMENT         IN      BRAZORIA        §
COUNTY, TEXAS, TRACT NO.                 §
BL12-TX-BR-003.000; Texas Reunion,       §
LLLP, Boa Sorte Limited Partnership,     §
Leo and Annette Beus, SPG-Wheatley,      §
LLLP,      SPG-Swaback,         LLLP,    §
Charlesview,    LLC,      Cloverland     §
Investors,   LLLP,    Winnipesaukee      §
Partners,     LLLP,       Amsterdam      §
Investments, LLLP, CSP-KDL, LLLP,
                                         §
Arizona Lemonade Springs, LLLP,
KLW Investments, LLLP, Aeditus,          §
LLC, Leo R. Beus 401(k) Profit Sharing   §
Plan, C3B, LLLP;                         §
                                         §
AND                                      §
                                         §


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                                        §
0.23 ACRES OF LAND, MORE OR             §
LESS, PERMANENT EASEMENT                §
(PIPELINE RIGHT-OF-WAY) IN              §
BRAZORIA        COUNTY,       TEXAS,
                                        §
TRACT NO. BL12-TX-BR-004.000;
Kurjee Enterprises, Inc.; Independent   §
Bank; Allstate BK Real Estate           §
Holdings, Ltd.;                         §
                                        §
AND                                     §
                                        §
3.14 ACRES OF LAND, MORE OR             §
LESS, PERMANENT EASEMENT                §
(PIPELINE RIGHT-OF-WAY), 5.89           §
ACRES OF LAND, MORE OR LESS,
                                        §
TEMPORARY       WORK     SPACE
EASEMENT, AND 0.09 ACRES OF             §
LAND,    MORE       OR    LESS,         §
TEMPORARY       ACCESS    ROAD          §
EASEMENT       IN    BRAZORIA           §
COUNTY, TEXAS, TRACT NO.                §
BL12-TX-BR-006.000; Mike Sorrell;       §
Mowery Farms;                           §
                                        §
AND                                     §
                                        §
0.04 ACRES OF LAND, MORE OR
                                        §
LESS, TEMPORARY ACCESS ROAD
                                        §
EASEMENT          IN  BRAZORIA
COUNTY, TEXAS, TRACT NO.                §
BL12-TX-BR-006.001; James Edward        §
Dye; Mike Sorrell;                      §
                                        §
AND                                     §
                                        §
0.14 ACRES OF LAND, MORE OR             §
LESS, PERMANENT EASEMENT                §
(PIPELINE RIGHT-OF-WAY), 1.54           §
ACRES OF LAND, MORE OR LESS,            §
TEMPORARY      WORK    SPACE
                                        §
EASEMENT, AND 1.11 ACRES OF
LAND,    MORE     OR    LESS,           §
TEMPORARY      ACCESS   ROAD            §
EASEMENT      IN    BRAZORIA            §
COUNTY, TEXAS, TRACT NO.                §


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 BL12-TX-BR-006.007; Mike Sorrell;             §
 Mowery Farms;                                 §
                                               §
 AND                                           §
                                               §
 ANY HEIRS, SUCCESSORS AND
                                               §
 ASSIGNS OF THE ABOVE-NAMED
 DEFENDANTS;                                   §
                                               §
 AND                                           §
                                               §
 ANY UNKNOWN OWNERS,                           §
                                               §
                                               §
        Defendants.                            §


                  VERIFIED COMPLAINT FOR CONDEMNATION

        Plaintiff Florida Gas Transmission Company, LLC (“Plaintiff” or “FGT”), by and

through counsel, files this Verified Complaint for Condemnation (“Verified Complaint” or

“Complaint”) pursuant to the Natural Gas Act (“NGA”), 15 U.S.C. § 717f(h) and Federal

Rule of Civil Procedure 71.1. FGT seeks an order of condemnation for and judgment

awarding FGT the permanent pipeline easements, temporary work space, surface sites,

permanent and temporary access roads and other rights-of-way and easements (the

“Easements”) on, over, across and under the tracts of land in Brazoria County, Texas

(“Property” or “Properties”), which are described below and identified, described and

depicted on Exhibit A attached hereto and incorporated herein, and for such other legal

and equitable relief as may be appropriate, specifically including injunctive relief allowing

FGT to immediately enter the Properties to clear the Easements and commence and

complete construction and restoration efforts and operate and maintain the pipeline

facilities described in paragraph 3 below while the proper amount of compensation for the

taking is resolved in this action.


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                  JURISDICTION, VENUE, AND AUTHORITY FOR TAKING

       1.      This is a civil action for the taking of property interests under the power of

eminent domain and for the determination and award of just compensation to the

landowners and other parties claiming interest as identified on Exhibit A and incorporated

herein. The authority for the taking is 15 U.S.C. § 717f(h), which grants federal

jurisdiction. Additionally, jurisdiction exists under 28 U.S.C. §1331, because this action

arises under the laws of the United States, and under 28 U.S.C. § 1337, because this action

arises under an Act of Congress regulating interstate commerce.

       2.      Since the 1950s, FGT has operated an interstate natural gas transmission

infrastructure in Texas and other states, authorized initially under the Federal Energy

Regulatory Commission (“FERC”) Dockets Nos. G-9262 and G-9960, et al, in order to

meet the demand for transportation capacity for deliveries of natural gas to industrial loads,

power generators, local distribution companies and other market outlets on the Gulf Coast

and Florida, including natural gas pipeline facilities in Brazoria County, Texas. On

November 10, 1982, the FERC issued to FGT a blanket Certificate of Public Convenience

and Necessity under Docket Nos. CP82-553-000, authorizing FGT “to conduct many

routine activities and abandon facilities and service on a self-implementing basis without

further authorization by the Commission” (the authorizations under said Dockets and said

blanket certificate being collectively referred to as the “Certificate”). A true and correct

copy of the Certificate is attached hereto as Exhibit B and incorporated herein.

       3.      On June 7, 2022, in accordance with the requirements of 18 C.F.R.

§157.205(h), FERC authorized under blanket Certificate in FERC Docket CP22-142-000,




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construction of approximately 2.0 miles of 12-inch-diameter lateral pipeline, a meter and

regulation station and appurtenant facilities in Brazoria County, Texas, and modification

and uprating of the existing compressor station unit in Matagorda County, Texas to deliver

up to 68,000 million British thermal units per day of firm transportation capacity to

Brotman Generating, LLC’s peak-power generation plant capable of providing up to 288

megawatts of generation for the Electric Reliability Council of Texas and Greater Houston

area electricity markets during peak-demand times, including during severe heat waves and

winter weather events (the “Brazoria County Project”). The Brazoria County Project

represents an $11 million capital investment of private funds for public infrastructure under

the NGA. As part of the authorization of the Brazoria County Project, on May 27, 2022,

FERC issued its Environmental Assessment Report (“EA”), in which it concluded that

approval of the Brazoria County Project “would not constitute a major federal action

significantly affecting the quality of the human environment. The Project would be

consistent with the requirements of sections 157.205, 157.208, 157.210, and 157.211 of

the Commission’s regulations.” See Ex. B at p. 76. A true and correct copy of the EA is

attached hereto in Exhibit C and incorporated herein.

        4.     FGT is scheduled to begin construction work in connection with the

Brazoria County Project in August, 2022, and must place it in-service by December 1,

2022, in order to be able to meet contractual deadlines and to be in a position to supply

natural gas for electric generation purposes during the 2022-2023 winter months and

thereafter.

        5.     FGT cannot construct the Brazoria County Project until it acquires certain

permanent and temporary Easements on, over, across and under the Properties. These




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Easements are necessary for FGT to commence and complete the construction, and then to

operate and maintain the Brazoria County Project. FGT has not been able to acquire the

necessary Easements from the Defendants included in this Complaint.

        6.      Pursuant to 15 U.S.C. § 717f(h), the compensation demanded or claimed by

the owner or owners of each tract to be burdened by the Easements on, over, across and, or

under each such tract exceeds $3,000.00, as does the amount offered by FGT for such

Easements.

        7.      FGT has not been able to acquire by contract, and/or is unable to agree as

to the amount of compensation to be paid for the Easements that will burden the lands

owned by the Defendants (as hereinafter defined).

        8.      Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(2)

because all of the Properties that are the subject of this action are situated within this

judicial district, and it is proper to join in this action all of the Properties identified on

Exhibit A and to join in this action all of the Defendants.

                                           PARTIES

      9.        FGT is a natural gas company as defined by Section 2(a) of the Natural Gas

Act, 15 U.S.C. § 717(a)(6). FGT is a Delaware limited liability company with a principal

place of business at 1300 Main Street, Houston, Texas, 77002. It is registered to do

business in, and is engaged in business in, the State of Texas and within this federal district.

      10.       FGT is a company organized for the purpose, among other things, of

transporting natural gas in interstate commerce through pipes and conduits, and is an

interstate natural gas company within the meaning of the Natural Gas Act, 15 U.S.C. §§

717a(6) and (1), and as such, is qualified to construct, install, own, operate and maintain




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pipelines for the transmission of natural gas in interstate commerce.

       11.      Pursuant to the Certificate, the FERC has determined that FGT’s pipeline

system will serve the public convenience and necessity by, among other things, providing

the public with a safe and reliable interstate pipeline system for the transportation of the

domestic supply of natural gas to facilities in the Gulf Coast region and Florida. Exhibit

B, at p.36. The Easements sought herein are needed by FGT to survey, construct, lay,

maintain, inspect, erect, alter, operate, protect, repair, replace with same or lesser size pipe,

remove and, or abandon in place the Pipeline and Facilities for the transportation of natural

gas in interstate commerce and to fulfill the public purposes for which the Certificate was

issued.

          12.   The persons and, or entities known or whose names could be ascertained by

 a reasonably diligent search of the records as owning or claiming any interest in the

 Properties on, over, across and, or under which the Easements are to be situated as

 identified, depicted or described on Exhibit A, are collectively referred to herein as

 “Defendants.”

          13.   There may be others, who have or may claim some interest in the Properties,

 whose names could not be ascertained by a reasonably diligent search of the records.

 These persons and/or entities are made parties to this action under the designation of

 “Unknown Owners” pursuant to Federal Rule of Civil Procedure 71.1(c)(3).

          14.   The property interests sought for such Easements, as well as the location of

 all the Easements sought to be condemned in this action are within the scope of the

 Certificate and the EA, and are necessary for the operation of the Brazoria County Project.




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A map depicting the Brazoria County Project overall route is attached hereto as Exhibit

D and incorporated herein.

       15.     FGT has negotiated with the landowners in an attempt to purchase amicably

the Easements on, over, across and under the Properties. Furthermore, FGT has made

written offers to the affected landowners for the Easements sought to be acquired before

instituting this action, but such offers have been rejected, or such affected landowners have

failed to respond, thereby preventing negotiations for the needed Easements.

       16.     Therefore, it is necessary for FGT to exercise its right of eminent domain

under Section 717f(h) of the Natural Gas Act, 15 U.S.C. §717f(h), to acquire the needed

Easements for the construction, operation and maintenance of the Brazoria County Project.

       17.     The construction schedule for the construction of the Brazoria County

 Project is limited and involves a complex logistical effort that will require the careful

 coordination of various crews performing different stages of work sequentially in an

 assembly-like fashion along the construction corridor at a rate (distance per day) that is

 affected by topography, road, water bodies and other factors.

       18.     To meet the need of its shippers and those of its shippers’ customers, while

at the same time complying with applicable regulations and FGT’s obligations as set forth

in the Certificate and the EA, FGT must begin various pre-construction activities, and then

construction, immediately.

       19.     Timing is of the essence, and maintaining the project schedule is critical, as

any delay in commencing and completing pre-construction and construction activities on

the Brazoria County Project will likely prevent FGT from meeting the needs and

requirements of its shippers and its shippers’ receiving customers and the needs of the




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 public for electricity generated from the gas transported through the Brazoria County

 Project, while at the same time complying with its FERC obligations under the Certificate.

    COUNT ONE: CONDEMNATION OF PROPERTY INTERESTS TO BE ACQUIRED AND
                             PROPERTY USE

       24.     The interests to be acquired by FGT are non-exclusive perpetual thirty feet

(30’) wide permanent pipeline rights-of-way and easements (the “Permanent Pipeline

Easements”) as same are identified, described and depicted on Exhibit A hereto, to survey,

construct, lay, maintain, inspect, erect, alter, operate, protect, repair, replace with same or

lesser size pipe, remove and, or abandon in place one pipeline in the thirty feet (30’) wide

permanent easements more fully identified, described and depicted on Exhibit A hereto,

said pipeline being not to exceed 12 inches in nominal inside diameter excluding any

protective coating or wrapping (the “Pipeline”), and located within such Permanent

Pipeline Easements, together with such below ground valves (unless a surface site

easement is identified on Exhibit A and therefore sought, in which case, FGT seeks to have

the right to place both the valve, meter, regulation, measurement, launchers and receivers

and related equipment and facilities above and below ground), thereon as described below.

FGT also seeks the right to place within the Permanent Pipeline Easements below ground

fittings, and below ground wires, cables, and other equipment and appurtenances, and

above ground corrosion control devices, cathodic protection test leads and control devices,

and pipeline markers, and Tru Tracker or similar wires strung inside or outside of, but

parallel to said Permanent Pipeline Easements, as may be necessary or convenient for

construction, operation and maintenance of the Brazoria County Project (collectively,

along with the equipment, facilities and devices and roads described in the paragraphs




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below, the “Facilities”), said easements being located on, under, upon, across, and through

the Properties as identified, described and depicted on Exhibit A.

       25. FGT also seeks to condemn non-exclusive temporary workspaces and

additional temporary workspaces identified, described and depicted on Exhibit A hereto

(collectively, the “Temporary Workspace Easements”). Each of the foregoing Temporary

Workspace Easements shall be used by FGT solely for the initial construction of the

Pipeline and Facilities in the Permanent Pipeline Easements and Surface Site Easements

and for the restoration and remediation of the land after initial construction and shall expire

upon completion of the initial construction and restoration and remediation of the Brazoria

County Project or upon the expiration of twenty-four months from the commencement of

construction in the county in which the Temporary Workspace Easement at issue is located,

whichever occurs first. Thereafter, all of FGT’s privileges and rights on or to use of the

Temporary Workspace Easements shall terminate.

       26.     FGT also seeks to condemn exclusive perpetual permanent surface

easements (collectively, the “Surface Site Easements”) to be used solely for the Brazoria

County Project for the purpose of constructing, maintaining, operating, removing,

changing the size of, relocating, replacing, protecting and repairing both surface and

subsurface pipelines, pumps, launching-receiving equipment, flares, communication

equipment, generators, dehydrators, separators, valves, risers, electrical equipment

(including but not limited to MCC Buildings/transformers/substations/generators),

electrical lines, wires, cables, meters, meter houses, meter runs, buildings and any and all

other devices, equipment and structures incident or necessary to the regulation, control,

measurement, treatment, transportation and distribution of natural gas, to the extent




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identified, described and depicted on Exhibit A hereto, together with the right to enclose

said easements by fences and the further right, at the expiration of the use of said easements

for one or more of such purposes, to retain possession and control of said property for a

reasonable period of time thereafter within which to remove said pipelines and all other

facilities of whatever character or description placed or constructed by FGT upon said

easements.   FGT shall have no right to place any compressors on the Surface Site

Easements unless specifically identified on the plats attached hereto as part of Exhibit A.

FGT, at its option, shall have the right to erect and maintain around, but within the Surface

Site Easements, a security fence.

       27.     FGT also seeks to condemn non-exclusive (1) permanent road access

easements (“Permanent Road Access Easements”), and (2) during the initial construction

of the Pipeline or Facilities only, temporary road access easements (“Temporary Road

Access Easements”), to the extent identified, described and depicted on Exhibit A, to be

used by FGT solely for the purpose of ingress and egress to and from public roads and

other easements to which FGT has the right of access to and from the Permanent Pipeline

Easements, the Temporary Workspace Easements and the Surface Site Easements. The

Temporary Access Easements shall expire upon completion of the initial construction and

restoration of the Brazoria County Project or the expiration of twenty-four months from

the commencement of construction in the county in which the Temporary Road Access

Easement as issue is located, whichever occurs first. FGT shall not prevent the owner of

the lands burdened with the Permanent Road Access Easements and, or the Temporary

Road Access Easements from utilizing the roadways within such Easements. With respect

to the Temporary Road Access Easements, FGT will, prior to termination of same, restore




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the roadways located within such easements to the same or better condition that existed

immediately prior to FGT’s use thereof, to the extent reasonably practicable. With respect

to the Temporary Road Access Easements (while same are in effect) and the Permanent

Road Access Easements, FGT shall have the right to use, repair, improve and, or maintain

any existing roads located therein and, or to construct, use, repair, improve, place and, or

maintain thereon new roadways, including ditches, culverts, drains and such other

appurtenant facilities, and, within the Permanent Road Access Easements, construct,

install, maintain and replace poles, wires and cables as are necessary to provide electricity

and, or communication capabilities to the Brazoria County Project, and FGT shall maintain

and upkeep to a reasonable state of repair any roads currently situated on or constructed on

the Permanent Road Access Easements. The Permanent Pipeline Easements, Temporary

Workspace Easements, Surface Site Easements, Permanent Road Access Easements, and

Temporary Road Access Easements are collectively referred to as the “Easements.”

      28.      In no event is FGT seeking to condemn any rights not authorized by FERC

to be condemned by FGT as reflected in the Certificate and the EA.

      29.      The right to use the Easements shall belong to FGT and its agents,

employees, designees, contractors, guests, invitees, successors and assigns, and all those

acting by or on behalf of it for the above stated purposes. FGT seeks the right of ingress

and egress over, across and through the Permanent Pipeline Easements, the Temporary

Workspace Easements (while they remain in effect), the Surface Site Easements, the

Temporary Road Access Easements (while they remain in effect), and the Permanent Road

Access Easements, and to access same from other rights-of-way or easements and roads,

to which FGT has the right of access, for the above stated purposes and for all other




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purposes necessary and at all times convenient and necessary to exercise the rights granted

by the Certificate as applied and enforced by this Court.

      30.      No pipeline or facilities of a permanent nature of any kind or character shall

be constructed by FGT on the Temporary Work Space Easements or the Temporary Road

Access Easements.

      31.      Pursuant to the Easements sought herein, FGT shall have the right to

construct, maintain and change slopes of cuts and fills to ensure proper lateral and subjacent

support and for drainage for the Facilities, and shall have the right to remove trees, brush,

crops and other vegetation and obstructions from the Permanent Pipeline Easements,

Surface Site Easements, Permanent Road Access Easements, and Temporary Workspace

Easements and Temporary Road Access Easements (while they remain in effect), dewater

the trench (either on or off the construction right-of-way) in a manner that does not cause

erosion and does not result in silt-laden water flowing into any waterbody, which

dewatering structures will be removed as soon as practicable after the completion of

dewatering activities.

      32.      Pursuant to the Easements sought herein, FGT shall have the right to install,

maintain and use gates in all fences which now cross or may cross the Permanent Pipeline

Easements or which provide access to the Properties where the Easements intersect same;

and FGT shall have the right to install its own lock, if FGT so chooses, and FGT and the

owners of the Properties shall have access (i.e., interlocking locks) through such gates.

FGT and its designated contractors, employees and invitees shall keep all gates in fences

closed at all times, except when passing through same, so that cattle, horses and/or other

livestock located on the Properties cannot stray from fenced pastures. FGT shall have no




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right to fence or enclose the Permanent Pipeline Easements, but shall have the right to fence

the Surface Site Easements. FGT shall, during the initial construction operations, maintain

suitable crossings on, over, and across the Permanent Pipeline Easements.

      33.      If any of the lands within the Easements are subject to valid and subsisting

oil and gas leases, coal leases, surface leases, pipeline easements or easements for other

purposes, FGT’s Easement rights acquired hereunder from and against the owners of such

leases and or, easements, are (i) acquired only to extent necessary to carry out the rights

granted to FGT under the Easements sought, and (ii) to be exercised by FGT so as to not

unreasonably interfere with existing rights of such owners, provided, however, that FGT

shall be entitled in all events to use the Easements to carry out the purposes approved by

the FERC in the Certificate and the EA. FGT has named such owners to the extent they

claim some interest in the lands burdened by the Easements sought by FGT. Defendants

who own any interest in a valid and existing lease and, or an easement may use lands lying

within the Permanent Pipeline Easements and Permanent Road Access Easements for the

uses authorized under the applicable lease and, or easement, provided such uses do not

destroy or unreasonably interfere with FGT’s permitted uses.          As to all remaining

Defendants, such Defendants (i) may use lands lying within the Permanent Pipeline

Easements and Permanent Road Access Easements for all purposes which do not destroy

or interfere with FGT’s permitted uses of same, including, without limitation, agricultural,

open space, setback, density, street, utility and roadway purposes, (ii) after review and

approval by FGT, which will not be unreasonably withheld, may construct and install any

and all streets and roadways and sidewalks, at any angle of not less than forty-five degrees

(45°) to FGT’s Facilities, across the Permanent Pipeline Easements which do not interfere




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with, damage, destroy or alter the operation of the Facilities, (iii) may construct and/or

install water, sewer, gas, electric, cable TV, telephone and, or other utility lines across the

Permanent Pipeline Easements at any angle of not less than forty-five degrees (45°) to

FGT’s Facilities, across the Permanent Pipeline Easements which do not interfere with,

damage, destroy or alter the operation of the Facilities, and provided that all of FGT’s

required and applicable spacings, including depth separation limits and other protective

requirements are met, and (iv) may construct and/or install water, sewer, gas, electric, cable

TV, telephone or other utility lines across the Permanent Road Access Easements so long

as such construction, installation and maintenance of same does not unreasonably interfere

with FGT’s use of same, or damage or destroy the roads located within such easements.

      34.      The use of the lands within the Easements shall be regulated by all

appropriate and then applicable ordinances, regulations, resolutions or laws of any

governmental entity having authority over same. Defendants must notify FGT in writing

before the construction or installation of any streets, roadways, utilities or other

encroachments on, over, across or under the Permanent Pipeline Easements and, or on,

over, across or under the Permanent Road Access Easements.

      35.      Defendants may not use any part of the Permanent Pipeline Easements and,

or the Permanent Road Access Easements if such use may damage, destroy, injure, and/or

interfere with the FGT’s use of same for the permitted uses hereunder. Defendants, except

for those Defendants who have rights to do so under valid and subsisting leases and, or

easements, are not permitted to conduct any of the following activities on the Permanent

Pipeline Easements and, or the Permanent Road Access Easements without the prior

written permission from FGT: (i) construct any temporary or permanent building or site




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improvements, other than streets and roads as provided above; (ii) drill or operate any well;

(iii) remove soil or change the grade or slope; (iv) impound surface water; or (v) plant trees

or landscaping. Notwithstanding anything herein to the contrary, no above or below

ground obstruction that may destroy or materially interfere with FGT’s permitted uses shall

be placed, erected, installed or permitted within or upon the Permanent Pipeline Easements

and, or the Permanent Road Access Easements without the prior written permission of

FGT. In the event the terms of this paragraph are violated, FGT shall have the immediate

right to correct or eliminate such violation at the sole expense of party who caused the

violation. The provisions of this paragraph shall not apply to the Surface Site Easements

as they are being condemned for FGT’s exclusive use.

      36.      FGT has the right from time to time on the Permanent Pipeline Easements,

Surface Site Easements, and, or the Permanent Road Access Easements to trim, cut down

or eliminate trees or shrubbery as may be necessary to prevent possible interference with

the operation of the Facilities and to remove possible hazards thereto, and, except as

provided above, the right to remove or prevent the construction of any and all buildings,

structures, reservoirs or other obstructions on the Permanent Pipeline Easements and, or

the Permanent Road Access Easements that, in the sole judgment of FGT, may endanger

or interfere with the efficiency, safety, or convenient operation of the Facilities. From and

after the completion of initial construction, FGT shall pay any verifiable damages that may

arise to growing crops, timber, fences and other improvements from the construction,

maintenance and operation of the Facilities, provided that FGT shall not be responsible for

paying damages for its removal of any trees or brush (but not growing crops) or other

obstructions from the Permanent Pipeline Easements or for its removal of any trees or brush




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or other obstructions from the Surface Sites easements and, or the Permanent Road Access

Easements as part of its routine operations to maintain thereof free from obstructions. FGT

shall maintain the Permanent Pipeline Easements, Surface Site Easements and, or the

Permanent Road Access Easements, and the Temporary Workspace Easements (while

same remain in effect) and Temporary Road Access Easements (while same remain in

effect) clear of all litter and trash accumulations.

       37.      FGT does not seek to acquire any royalty, working, revenue, overriding, or

other oil, gas, or mineral interests. Defendants shall, to the extent owned by Defendants,

retain all the oil, gas, and other minerals in, on and under the Properties, including within

the Easements; provided, however, Defendants shall not be permitted to drill or operate

equipment for the production or development of oil, gas, and minerals within or on the

Permanent Pipeline Easements, Surface Site Easements and, or the Permanent Road Access

Easements, but Defendants shall be permitted to extract the oil, gas and minerals from and

under same by directional drilling and other means, so long as such activities do not

damage, destroy, injure, and/or interfere with the FGT’s use, operation and maintenance of

the Facilities or FGT’s use of said easements for the purposes for which same are sought

by FGT.

       38.      Upon completion of construction, permanent fencing and tiling destroyed

or disturbed by project construction activities shall be repaired and, or re-installed by FGT,

at its sole expense, along substantially the same alignment, configuration and approximate

location of the Defendants’ existing fences and tiling system.

       39.      FGT shall comply in all respects, at its sole cost, with all applicable federal,

state, and local laws, rules, and regulations which are applicable to FGT’s activities




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hereunder, including, without limitation, the construction, use, operation, maintenance,

repair and service of the Facilities.

       40.      FGT shall have the right to adequately mark the Pipeline with permanent

line markers, ground placards and install and maintain cathodic test leads in order to

promote public safety and the future safe operation of said pipeline, and to meet applicable

governmental regulations.

       41.      Notwithstanding anything to the contrary herein, FGT (except for facilities

on Surface Site Easements, electric poles on Permanent Road Access Easements and

pipeline markers, and cathodic test leads on Permanent Pipeline Easements, which will be

placed within the Permanent Pipeline Easements at road crossings, property boundaries or

existing fence lines intersected by the Pipeline or Pipelines, unless required by applicable

regulations to be placed at other locations within the Permanent Pipeline Easements, and

pipeline vents which will be placed within the Permanent Pipeline Easements at road

crossings, where required), and true tracker wires, will not construct, build, install,

maintain or have any above ground structures, installations, equipment or apparatus of any

kind on or within the boundaries of the Permanent Pipeline Easements or Permanent Road

Access Easements.

       42.      FGT hereby agrees to indemnify and hold Defendants harmless from and

against any claim or liability or loss from personal injury, property damage resulting from

or arising out of the use by FGT, its contractors, servants, agents or invitees, of the

Easements, excepting, however, any and all claims, liabilities or damages as may be due

to or caused by the acts of a Defendant, or his, her or its servants, agents or invitees.




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      43.      FGT shall have the right to assign its Easements to the extent allowed by

applicable law, and the rights granted hereunder while in effect, may be assigned in whole

or in part, to one or more assignees. The Permanent Pipeline Easements, Surface Site

Easements, and the Permanent Road Access Easements sought hereunder shall be in

perpetuity, and the easement provisions of this Verified Complaint, including all benefits

and burdens, shall be covenants running with the land and shall be binding on FGT,

Defendants, and their respective successors and assigns.

      44.      It is in the public interest and necessity, as evidenced by the Certificate and

the EA, that the Easements, as certificated by FERC and described herein and in Exhibit

A, be condemned for the public purposes herein described.

       45.     The intended uses of the Easements to be taken are within the authority

conferred by the Certificate and the EA.

      46.      Pursuant to Fed. R. Civ. P. 65(c), FGT will deposit into the Court’s registry

the amount required by the Court to secure Defendants compensation that will ultimately

be awarded for the Easements sought, and subject to the withdrawal by Defendants on the

terms specified by this Court.


                          COUNT TWO: DECLARATORY RELIEF

       47.     FGT incorporates by reference paragraphs 1 through 46.

       48.     FGT requests the Court to declare, pursuant to 28 U.S.C. § 2201, and the

Certificate issued by FERC, pursuant to the Natural Gas Act, that FGT has the substantive

right to exercise eminent domain over and to condemn the Easements as outlined in this

Verified Complaint and in the Certificate.




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                           COUNT THREE: INJUNCTIVE RELIEF

       49.     FGT incorporates by reference paragraphs 1 through 48.

       50.     FGT seeks an order granting it immediate entry upon the Easements

identified herein.

       51.     Immediate access and entry is necessary so that FGT can timely place and

keep the Brazoria County Project in service and to operate and maintain the Brazoria

County Project pending determination of just compensation, to meet the needs of FGT’s

shippers and their customers and the general public, while at the same time complying with

the applicable regulations and FGT’s obligations set forth in the Certificate and the EA. If

FGT does not obtain immediate access and entry to the Easements it will be unable to

conduct the necessary pre-construction activities, will be unable to timely place the

Brazoria County Project in service to continue service for its shippers and to meet the needs

of the public, and FGT will suffer immediate and irreparable harm and loss of business

reputation for which it has no adequate remedy.

       52.     FGT will, upon Court order, post appropriate cash deposits and bonds

reflective of the total estimate of just compensation due to Defendants for the acquisition

of the Easements and to satisfy additional security requirements, if any, imposed on FGT

by the Court. As a result, Defendants will not be adequately secured and not harmed in

any way by the grant of immediate possession.

       53.     FGT has the right to condemn the Easements pursuant to the Certificate

issued pursuant to the Natural Gas Act and, therefore, FGT is substantially likely to prevail

on the merits of the taking.




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       54.     The Certificate establishes that the Pipeline and acquisition of the

Easements is in the public interest.

       55.     Accordingly, FGT requests the Court to enter an order granting injunctive

relief to permit FGT the right of immediate entry and access upon the Easements to

commence and complete the Brazoria County Project and to operate and maintain it

pending the final determination of just compensation.

                              CIVIL RULE 71.1(D) NOTICES

       56.     Pursuant to Fed. R. Civ. P. 71.1(d)(1), FGT is hereby delivering to the clerk

the requisite notices to the Defendants named herein, as identified in Exhibit A.


       WHEREFORE, FGT respectfully prays that this Honorable Court:


       a.      Deem the Notice submitted herewith pursuant to Federal Rule of Civil

               Procedure 71.1(d) to be good and sufficient;

       b.      Order that said Notice be served on the Defendants in a manner set forth by

               Federal Rule of Civil Procedure 71.1(d)(3);

       c.      Recognize and declare FGT’s right to appropriate, through eminent domain,

               the Easements;

       d.      Enter an order granting FGT immediate entry onto and access of the

               Easements identified and described herein prior to the determination of just

               compensation upon the posting of security required by the Court to begin

               pre-construction activities and construction of the Brazoria County Project

               and to operate and maintain it while the issue of just compensation for the

               taking is resolved by this Court;

       e.      Appoint a commission for the determination of just compensation on the


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             takings pursuant to Fed. R. Civ. P. 71.1(h)(2);

      f.     Enter judgment and order(s) of taking in favor of FGT awarding FGT the

             Easements identified and described herein; and

      g.     Issue all necessary and/or appropriate orders and decrees, and for all other

             general, equitable and legal relief as the Court deems just and proper.



      Respectfully submitted this 5th
                                  __ day of July, 2022,


                                           ZABEL FREEMAN


                                    /S/ Thomas A. Zabel
                                    Thomas A. Zabel (Attorney in Charge)
                                    Texas Bar No. 22235500
                                    FBN 12160
                                    tzabel@zflawfirm.com

OF COUNSEL:

James A. Freeman
Texas Bar No. 00796580
FBN 21048
jfreeman@zflawfirm.com
Vadim O. Bourenin
Texas Bar No. 24076284
FBN 3146033
vbourenin@zflawfirm.Com
1135 Heights Boulevard
Houston, Tx 77008
713-802-9117 (Telephone)
713-802-9114 (Facsimile)

ATTORNEYS FOR PLAINTIFF,
FLORIDA GAS TRANSMISSION COMPANY, LLC




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